     Case 4:24-cv-00897      Document 55       Filed on 01/23/25 in TXSD        Page 1 of 3
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                      January 23, 2025
                    IN THE UNITED STATES DISTRICT COURT
                                                                                     Nathan Ochsner, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                                           ORDER

       Plaintiff, a veteran litigant proceeding pro se, initiated this case in state court

on December 21, 2023, as part of her approximately 14-year effort to thwart

foreclosure on residential property located in Kingwood, Texas (Property).1 ECF 1-

4.    Before the Court is PHH Mortgage Corporation’s Motion for Summary

Judgment, which is addressed in a separate Memorandum and Recommendation.2

ECF 27. Plaintiff has filed a Motion for Leave to File First Amended Verified

Surreply to PHH Mortgage Corporation’s Motion for Summary Judgment. ECF 45;

ECF 52.

       Plaintiff has filed a Summary Judgment Response (ECF 35) and a Surreply

(44). Plaintiff presents no good cause for granting leave to file an amended Surreply


1
  The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
2
  The Court has dismissed all other Defendants. ECF 23.
   Case 4:24-cv-00897     Document 55     Filed on 01/23/25 in TXSD   Page 2 of 3




and no arguments that could not have been raised in the Surreply. The Motion argues

that Defendant’s Motion for Summary Judgment exceeds the 5,000-word limit

imposed by local rules and must be stricken. Although there is no such Local Rule

for the Southern District of Texas, Rule 18(c) of Judge Eskridge’s procedures limits

motions to “5,000 words (approximately 25 pages).” In an abundance of caution,

PHH recently filed a Motion for Leave to Exceed Word Court, explaining that the

inadvertent error was a result of following the procedures of District Judge Werlein,

who was assigned the case prior to transfer to Judge Eskridge. ECF 50. PHH asks

that if the Court is inclined to grant Plaintiff’s Motion to Strike, it be allowed to

withdraw the pending motion and file an amended motion that complies with Judge

Eskridge’s procedures. Id.

      At this point, Plaintiff has been granted an extension of time to respond, the

Motion for Summary Judgment has been fully briefed, and the issues are ripe for

determination. See ECF 27; ECF 31; ECF 35; ECF 40; ECF 44. Plaintiff did not

file a motion to strike prior to responding to the motion. In any event, at 24 pages,

the length of Defendant’s motion is within the spirit of Judge Eskridge’s procedures.

It would be a waste of judicial and party resources to strike it at this time. It is

therefore

      ORDERED that Plaintiff’s Motion for Leave (ECF 45) is DENIED. It is

further


                                          2
  Case 4:24-cv-00897       Document 55       Filed on 01/23/25 in TXSD    Page 3 of 3




        ORDERED that Defendant’s Motion to Exceed Word Count is DENIED as

moot.



Signed on January 23, 2025, at Houston, Texas.



                                                          Christina A. Bryan
                                                     United States Magistrate Judge




                                             3
